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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                        Case No. 1:08-CR-274

v.                                                               Hon. Paul L. Maloney

CHARLES JACKSON, SR.,

               Defendant.
                                               /

                             REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on March 24, 2010, after receiving the written consent

of the defendant, the defendant's attorney, and the attorney for the government. These consents were

also placed on the record in open court.

               Defendant Charles Jackson, Sr. is charged in Count 2 of a Second Superseding

Indictment with money laundering. Pursuant to Rule 20 of the Federal Rules of Criminal Procedure,

the defendant also pled guilty to Count 1 of a 1998 Indictment from the Eastern District of Michigan

entitled United States v. Val Terry Green, et al, E.M. Case No. 98-80855, charging him with

conspiracy to distribute and possess with intent to distribute cocaine. On the basis of the record

made at the hearing, I found that defendant was competent to enter pleas of guilty and that the pleas

were knowledgeable and voluntary with a full understanding of each of the rights waived by the

defendant, that the defendant fully understood the nature of the charges and the consequences of the

pleas, and that the defendant's pleas had a sufficient basis in fact which contained all of the elements


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of the offenses charged.

               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the

parties.

               Accordingly, I accepted the pleas of guilty, subject to final acceptance of the pleas

by the District Judge, and I specifically reserved acceptance of the plea agreement for the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to Count 2 of the Second Superseding Indictment, as well as the 1998 Indictment from the

Eastern District of Michigan, E.M. Case No. 98-80855, be accepted, that the court adjudicate the

defendant guilty of those charges, and that the written plea agreement be accepted at, or before, the

time of sentencing.



Dated: March 25, 2010                                 /s/ Hugh W. Brenneman, Jr.
                                                      HUGH W. BRENNEMAN, JR.
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).


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